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                        EXHIBIT 22
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.

                    Plaintiffs,                   Civil Action No. ________________

             v.


  NATIONAL INSTITUTES OF HEALTH;
  MATTHEW MEMOLI, M.D., M.S., in his
  official capacity as Acting Director of the
  National Institutes of Health; U.S.
  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; and DOROTHY
  FINK, M.D., in her official capacity as
  Acting Secretary of the U.S. Department of
  Health and Human Services,

                  Defendants.


                               DECLARATION OF RYAN LOW


I, Ryan Low, hereby declare:

1. I am the Vice Chancellor for Finance and Administration for the University of Maine

   System, a position I have held since 2017. As Vice Chancellor for Finance and

   Administration, I have oversight of the University of Maine System operating budget;

   treasury and accounting; general services, including facilities and procurement, information

   technology, and government relations.

2. As the Vice Chancellor for Finance and Administration, I have personal knowledge of the

   matters set forth below, or have knowledge of the matters based on my review of information

   and records gathered by university staff.




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3. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants

   Policy Statement: Indirect Cost Rates, which purports to immediately reduce indirect costs

   payments to 15%.

4. The University of Maine, one of seven universities within the University of Maine System, is

   Maine’s flagship research university. It conducts research in areas such as treatments for

   infectious diseases, neuromuscular disorders, and muscle aging. This research is conducted

   by the University of Maine Center for Biomedical Research Excellence (COBRE), which

   plays a key role in supporting the biomedical research industry in Maine as a biomedical

   research and training hub. COBRE is supported by a $11.3 million award from NIH,

   consisting of 3 Phases, with the current Phase 1 initiated in 2023.

5. The University of Maine System has a Negotiated Indirect Cost Rate Agreement (“NICRA”)

   with NIH, effective as of April 23, 2024. The Indirect Cost (“IDC”) Rates in the NICRA

   range from 26.00% to 47.70%.

6. The University of Maine System’s on campus research IDC rate for NIH funding is 47.70%.

7. NIH’s reduction of the University of Maine System’s IDC rate will eliminate approximately

   $1,376,804 in funding that the university uses to support its research programs. The loss of

   these funds will immediately impact the university’s ability to draw critical funds used to pay

   expenses associated with operation and maintenance of complex facilities and critical

   research equipment, procurement of goods, compliance with applicable laws and grant

   provisions, payroll related to individuals not directly associated with the awards, and similar

   costs.




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8. NIH’s reduction of the University of Maine System’s IDC rate could disrupt anticipated

   clinical trials for research in progress related to treatment for infectious diseases,

   neuromuscular disorders, and muscle aging.

9. The loss of IDC funds from NIH grants would impact a planned update and maintenance of

   environmental systems crucial to its bio-medical research facility. The anticipated annual

   debt and interest obligation to be covered by IDCs is $850,000.

10. The University of Maine next anticipates to draw funds immediately related to the COBRE

   program described above and other university research programs.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 9th day of February, 2025, in Monmouth, Maine.



                                                  /s/ Ryan Low____________________________

                                                  Ryan Low
                                                  Vice Chancellor for Finance and Administration
                                                  University of Maine System




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